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 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                  SAN FRANCISCO DIVISION
11

12

13   KENNETH HAAG, an individual,                CASE NO.:________________
14                                               COMPLAINT FOR:
                   Plaintiff,
15                                                  1. RACE DISCRIMINATION IN
                                                       VIOLATION OF TITLE VII OF
16         vs.                                         THE CIVIL RIGHTS ACT OF
                                                       1964
17                                                  2. DISABILITY
                                                       DISCRIMINATION IN
18                                                     VIOLATION OF AMERICAN
     INTERNATIONAL LONGSHORE                           WITH DISABLITIES ACT OF
19   AND WAREHOUSE UNION LOCAL                         1990
     10; and DOES 1-10 inclusive                    3. RETALIATION IN
20                                                     VIOLATION OFTITLE VII OF
                                                       THE CIVIL RIGHTS ACT OF
21                 Defendants.                         1964
22                                                  JURY TRIAL DEMANDED
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24         Plaintiff KENNETH HAAG (herein “Plaintiff” or “Mr. Haag”) complains and
25   pleads as follows:
26   ///
27   ///
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 1                                  GENERAL ALLEGATIONS
 2         1.     This is an employment discrimination action for damages by Plaintiff against
 3   INTERNATIONAL LONGSHORE AND WAREHOUSE UNION LOCAL 10 (herein
 4   “Defendant” or “ILWU”) where Plaintiff is a member, for a pattern of tortious conduct,
 5   involving multiple violations of Title VII of the Civil Rights Act of 1964 and American
 6   with Disabilities Act of 1990 (“ADA”), et seq., including discrimination on the basis of
 7   race and disability; and retaliation. Plaintiff seeks damages for mental and emotional
 8   distress, lost wages, and attorney’s fees.
 9              JURSIDICTION, VENUE & INTRADISTRICT ASSIGNMENT
10         2.     Jurisdiction. This Court has original jurisdiction of Plaintiff’s discrimination
11   claim under Title VII of the Civil Rights Act of 1964 and American with Disabilities Act
12   of 1990 pursuant to 28 U.S.C. §§ 1331 and 1343(a)(4). This Court has jurisdiction of
13   Plaintiff’s retaliation claim under Title VII of the Civil Rights Act of 1964 pursuant to
14   U.S.C. §§ 1331.
15         3.     Venue. Venue is proper in this District pursuant to 28. U.S.C. § 1391(c) and
16   42 U.S.C. § 2000-5(f)(3). Defendant is subject to personal jurisdiction in this District in
17   that it maintains facilities and operations in this District, employs or employed Plaintiff in
18   this District, and committed the discriminatory acts alleged herein within this District.
19         4.     Intradistrict Assignment. Venue is proper in the San Francisco Division of
20   this Court pursuant to Local Rules 3-2(c) and 3-2(e) because a substantial part of the
21   events that give rise to the claims asserted in this Complaint occurred in San Francisco
22   County. In particular, Defendant employed Plaintiff and/or was a member of Defendant
23   ILWU in San Francisco County, California, and there, committed acts of discrimination
24   and retaliation, as alleged in this Complaint.
25         5.     On or around August 20, 2019, and within the time provided by law, Plaintiff
26   filed verified charges with the Equal Employment Opportunity Commission (“EEOC”)
27   against Defendants.
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 1                        EXHAUSTION OF ADMINISTRATIVE REMEDY
 2            6.      Plaintiff has complied with the administrative exhaustion requirements, as he
 3   had previously filed a complaint against Defendants before the EEOC, for which the latter
 4   has issued a Right to Sue letter dated September 1, 2020.
 5            7.      Said Right to Sue letter gave Plaintiff ninety (90) days from the date of
 6   receipt of the EEOC Right to Sue letter to bring a civil action before the proper federal
 7   court.
 8            8.      Therefore, this action is timely filed.
 9            FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
10            9.      Plaintiff have been a member of Defendant ILWU since February 2011.
11            10.     His current position is Mechanic.
12            11.     On or about April 2019, Plaintiff was medically released to return to work
13   with restrictions, from an extended medical leave.
14            12.     Prior to his medical leave, Plaintiff was on track to be promoted into A
15   Status.
16            13.     However, Defendant explained that since Plaintiff was short of a month of
17   being promoted into A Status, that the promotion would be reconsidered upon Plaintiff’s
18   return from medical leave.
19            14.     Contrary to the Defendant’s explanation, however, Defendant never
20   processed Plaintiff’s promotion even long after his return to work.
21            15.     In fact, as of today, Defendant has denied and continue to refuse Plaintiff’s
22   long overdue promotion into A Status.
23            16.     Instead, Defendant has asked for more requirements from Plaintiff; for
24   example, Defendant required more stamps.
25            17.     As a consequence of Plaintiff’s being unreasonably denied his promotion into
26   A Status, Plaintiff have been unable to obtain work. As a matter of fact, the last time that
27   Plaintiff was able to have an assignment was in May 2019.
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 1         18.      Plaintiff observes that Defendant favors African Americans, as he personally
 2   knows of a similarly situated individual who was properly reinstated and promoted to A
 3   Status, after being on leave.
 4         19.      Plaintiff believes he have been discriminated against in violation of the
 5   Americans with Disabilities Act of 1990, as amended. Plaintiff also believes that he has
 6   been discriminated against based on his race (White) in violation of Title VII of the Civil
 7   Rights Act of 1964, as amended. Plaintiff further believes that he has been retaliated
 8   against for engaging in a protected activity.
 9                                    FIRST CAUSE OF ACTION
10                       Race Discrimination in Violation of Title VII of the
11                         Civil Rights Act of 1964 (42 U.S.C. Sec. 2000e-2[a])
12         20.      Plaintiff re-alleges and incorporates herein by reference paragraphs 9 through
13   19, inclusive of this Complaint as though fully set forth herein.
14         21.      Federal laws, e.g., provisions of Title VII of the Civil Rights Act of 1964 (42
15   U.S.C. Sec. 2000e-2 [a]) expressly considers unlawful employment practice for an
16   employer to fail or refuse to hire or to discharge any individual, or otherwise to
17   discriminate against any individual with respect to his compensation, terms, conditions, or
18   privileges of employment, because of such individual's based on race, color, religion, sex,
19   or national origin.
20         22.      By doing the things described above, there is prima facie basis to hold
21   Defendant liable for discrimination, which is prohibited under Title VII of the Civil Rights
22   Act of 1964.
23         23.      Plaintiff who was discriminated due to his race (white), and as a result of the
24   discrimination, was denied promotion or denied any employment benefit.
25         24.      As a direct and proximate result of Defendant’s conduct, Plaintiff has
26   suffered special damages in the form of lost earnings, benefits and/or out-of-pocket
27   expenses in an amount according to proof at trial.
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 1         25.     Plaintiff filed timely complaints with the EEOC and DFEH and duly received
 2   his Right to Sue notice. Plaintiff has filed this action within ninety (90) days of receiving
 3   his Right to Sue notice from the EEOC.
 4                                SECOND CAUSE OF ACTION
 5                            Disability Discrimination in Violation of
 6               American with Disabilities Act of 1990 (42 U.S.C. § 12101, et seq.)
 7         26.     Plaintiff re-alleges and incorporates herein by reference paragraphs 9
 8   through25, inclusive, of this Complaint as though fully set forth herein. The Americans
 9   with Disabilities Act, 42 U.S.C. § 12101, et seq., prohibits employers from discriminating
10   against qualified individuals because of a disability “in regard to job application
11   procedures, the hiring, advancement, or discharge of employees, employee compensation,
12   job training, and other terms, conditions, and privileges of employment. (42 U.S.C. §
13   12112)
14         27.     Plaintiff was previously put on medical leave because of his brain injury.
15   Therefore, he was deemed an individual with disability and legally protected under the
16   provisions of the ADA.
17         28.     As shown in the foregoing allegations, however, Defendant deprived Plaintiff
18   of the opportunity for promotion due to his disability in clear violation of the law.
19         29.     As a direct and proximate result of Defendant’s conduct, Plaintiff has
20   suffered special damages in the form of lost earnings, benefits and/or out-of-pocket
21   expenses in an amount according to proof at trial.
22         30.     As a further direct and proximate result of Defendants' conduct, Plaintiff will
23   suffer additional special damages in the form of lost future earnings, benefits and/or other
24   prospective damages in an amount according to proof at trial.
25         31.     Plaintiff filed timely complaints with the EEOC and DFEH and duly received
26   his Right to Sue notice. Plaintiff has filed this action within ninety (90) days of receiving
27   his Right to Sue notice from the EEOC.
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 1                                 THIRD CAUSE OF ACTION
 2                              Retaliation in Violation of Title VII of the
 3                      Civil Rights Act of 1964 (42 U.S.C. Sec. 2000e-3[a])
 4         32.     Plaintiff re-alleges and incorporates herein by reference paragraphs 9 through
 5   31, inclusive, of this Complaint as though fully set forth herein.
 6         33.     Based on the above alleged conduct, Defendant retaliated against Plaintiff for
 7   complaining about the discrimination he was experiencing from Defendant, all in
 8   violation of Title VII of the Civil Rights Act of 1964 (42 U.S.C. Sec. 2000e-3(a)
 9         34.     In retaliation for Plaintiff’s complaints, has denied and continue to refuse
10   Plaintiff’s long overdue promotion into A Status.
11         35.     There was causal connection between Plaintiff’s complaint and the materially
12   adverse action taken by Defendant, i.e., continued denial of his promotion into A Status.
13         36.     As a direct and proximate result of Defendants' conduct, Plaintiff has suffered
14   special damages in the form of lost earnings, benefits and/or out-of-pocket expenses in an
15   amount according to proof at trial.
16         37.     As a further direct and proximate result of Defendants' conduct, Plaintiff will
17   suffer additional special damages in the form of lost future earnings, benefits and/or other
18   prospective damages in an amount according to proof at trial.
19         38.     Plaintiff filed timely complaints with the EEOC and DFEH and duly received
20   his Right to Sue notice. Plaintiff has filed this action within ninety (90) days of receiving
21   his Right to Sue notice from the EEOC.
22                                    PRAYER FOR RELIEF
23        WHEREFORE, Plaintiff prays for judgment against each Defendants as follows:
24         1.      For general damages according to proof, on each cause of action for which
25   such damages are available;
26         2.      For compensatory damages, according to proof on each cause of action for
27   which such damages are available;
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 1         3.     For special damages, according to proof on each cause of action for which
 2   such damages are available;
 3         4.     For reasonable attorneys’ fees, according to proof on each cause of action for
 4   which such damages are available;
 5         6.     For prejudgment and post-judgment interest, according to proof on each
 6   cause of action for which such damages are available;
 7         7.     For equitable relief to the extent available under law;
 8         8.     For such other and further relief as the Court deems proper and just.
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10   DATED: November 30, 2020                      BENJAMIN LAW GROUP, P.C.
11

12                                          By:
                                                   PATRICE HARPER, ESQ.
13                                                 Attorneys for Plaintiff
14
                                                   KENNETH HAAG

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 1                             DEMAND FOR JURY TRIAL
 2

 3        Plaintiff KENNETH HAAG hereby requests a Jury Trial on the claims so triable.
 4

 5   DATED: November 30, 2020                 BENJAMIN LAW GROUP, P.C.
 6

 7                                      By:
                                              PATRICE HARPER, ESQ.
 8                                            Attorneys for Plaintiff
 9
                                              KENNETH HAAG

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